  Case 19-30240      Doc 32    Filed 11/08/19 Entered 11/08/19 17:59:44          Desc Main
                                 Document     Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                 WESTERN DIVISION


______________________________________
                                       ]
In re:                                 ]
       Elizabeth Cordero,              ]
                          Debtor       ]                        Chapter 7
                                       ]                        Case No. 19-30240
                                      ]
_____________________________________ ]



               NOTICE OF RE-SCHEDULED MEETING OF CREDITORS

Please be advised that the 341 Meeting of Creditors originally scheduled for November 12, 2019
has been rescheduled to December 17, 2019 at 11:00 am at 1350 Main St., 11th Floor,
Springfield, MA 01103.


November 8, 2019
                                                   Respectfully submitted,

                                                   Carrie A. Naatz
                                                   /s/ Carrie A. Naatz
                                                   BBO 651728
                                                   1111 Elm St. #28
                                                   West Springfield, MA 01089
                                                   (413) 336-8300
                                                   (413) 424-3292 (facsimile)
